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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK
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    In re:                                                        Case No.: 08-12667 (AJG)

             Boaz Bagbag,                                         Chapter 7

                                        Debtor.
    ----------------------------------------------------------x

      ORDER TO SHOW CAUSE TO CONSIDER SHORTENING TIME IN WHICH
       TO MOVE TO EXTEND TIME TO OBJECT TO (1) DISCHARGEABLILITY
       UNDER 11 U.S.C SECTION 523 AND (2) DISCHARGE UNDER 11 U.S.C.
                               SECTION 727

    TO THE DEBTOR, TRUSTEE AND CREDITORS:

             Upon the Statement of Robert J. Gumenick, attorney for Creditors Uzi Evron,

    Roni Abudi and Doron Kessel, dated December 8, 2008, and sufficient cause appearing

    therefore, it is hereby

             ORDERED AND ADJUDGED, that the hearing on the motion will be held on

    shortened time on December 16, 2008 at 9:30 A.M. in Room 523 at the Alexander

    Hamilton Courthouse, One Bowling Green, New York, New York                  10004.     Any

    objection to such motion shall be filed and served by 5:00 P.M. on December 15, 2008.

             NOTICE OF THE HEARING SHALL BE GIVEN by the attorney for the

    movant to (i) the United States Trustee, the (ii) the Chapter 7 Trustee in the above

    captioned case, (iii) Debra Welch, Esq. of Bondi & Iovino, attorneys for B&N Realty

    Corp. 1055 Franklin Avenue, Suite 206 Garden City, NY 11530 and (iv) and




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    all other parties requesting notice. An original shall be transmitted to Greg Zipes, Esq.,

    Office of the United States Trustee, 33 Whitehall Street, 21st Floor, New York, New York

    10004. Service shall be made on or before 5:00 P.M. on December 9, 2008.

    Dated: New York, New York
           December 8, 2008

                                          s/Arthur J. Gonzalez
                                          UNITED STATES BANKRUPTCY JUDGE




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